              Case 8:10-cr-00171-RWT           Document 202         Filed 01/03/12      Page 1 of 1



                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

     ROGER W. TITUS                                                                    6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                         GREENBELT, MARYLAND 20770
                                                                                              301-344-0052


                                           MEMORANDUM

       TO:            Counsel of Record

       FROM:          Judge Roger W. Titus

       RE:            United States of America v. Rodney Stansbury
                      Criminal No. RWT-10-171-5

       DATE:          January 3, 2012

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              By the consent of the parties, the sentencing currently scheduled on January 13, 2012 at
       9:00 a.m. as to Rodney Stansbury is RESCHEDULED for March 15, 2012 at 10:00 a.m.

               Despite the informal nature of this ruling, it shall constitute an Order of the Court, and the
       Clerk is directed to docket it accordingly.



                                                                  /s/
                                                      Roger W. Titus
                                                      United States District Judge
